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                                                           November 16, 2021
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                                                           WESTERN DISTRICT OF TEXAS

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